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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________
ORAL NICHOLAS HILLARY,
                                                    8:17-cv-659
                        Plaintiff,                  (GLS/DEP)

                  v.

ST. LAWRENCE COUNTY et al.,

                   Defendants.
________________________________
APPEARANCES:                     OF COUNSEL:

FOR THE PLAINTIFF:
Barket, Epstein & Kearon Aldea &           ALEXANDER ROBERT KLEIN,
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FOR THE DEFENDANTS:
St. Lawrence County, St. Lawrence
District Attorney’s Office, Unidentified
Jane/John Doe #1-10 St. Lawrence
County Employees, Unidentified
Jane/John Doe #11-20 St. Lawrence
County District Attorney Employees,
St. Lawrence County Sheriff Kevin
M. Wells, and Unidentified Jane/John
Doe #21-30 St. Lawrence County
Sheriff Employees
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Mary E. Rain
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Village of Potsdam, Village of
Potsdam Police Department,
Edward Tischler, Kevin M. Bates,
and Mark Murray
Johnson & Laws, LLC                      GREGG T. JOHNSON, ESQ.
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Unidentified Jane/John Doe
Village Of Potsdam Employees
#31-40                                   NO APPEARANCES

Onondaga County and
William Fitzpatrick
Onondaga County Department               JOHN E. HEISLER, JR., ESQ.
of Law
John H. Mulroy Civic Center
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Syracuse, NY 13202

New York State Police, Gary Snell,
Theodore Levinson, Tim Peets, Ray
Wickenheiser, and Julie Pizziketti
HON. LETITIA JAMES                       JOSHUA E. MCMAHON, ESQ.
New York State Attorney General
The Capitol
Albany, NY 12224

                                     2
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Unidentified Jane/John Doe #41-50
New York State Police Employees          NO APPEARANCES

Gary L. Sharpe
Senior District Judge

                MEMORANDUM-DECISION AND ORDER

                              I. Introduction

     Plaintiff Oral Nicholas Hillary brings this action seeking damages

pursuant to New York State law and 42 U.S.C. § 1983, based on an

alleged violation of his First, Fourth, and Fourteenth Amendment rights.

(Compl., Dkt. No. 1 ¶ 6.) Pending are three motions to dismiss Hillary’s

complaint filed by various defendants. (Dkt. Nos. 39, 58, 70.) For the

following reasons, State defendants’1 motion, (Dkt. No. 39), is granted;

County defendants’2 motion, (Dkt. No. 58), is granted; and Village

      1
        “State defendants” refers collectively to the following defendants:
New York State Police (NYSP), NYSP Officer Gary Snell, NYSP
Investigator Theodore Levinson, NYSP Investigator Tim Peets, Director of
the Crime Lab System for the NYSP Forensic Investigation Center Ray
Wickenheiser, and Director of Biological Science for the NYSP Forensic
Investigation Center Julie Pizziketti.
      2
       “County defendants” refers collectively to the following defendants:
St. Lawrence County, unidentified Jane/John Doe #1-10 St. Lawrence
County employees, St. Lawrence County District Attorney’s Office,
unidentified Jane/John Doe #11-20 St. Lawrence County District
Attorney’s Office employees, St. Lawrence County Sheriff Kevin M. Wells,
and unidentified Jane/John Doe #21-30 St. Lawrence County Sheriff
                                     3
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defendants’3 motion, (Dkt. No. 70), is granted in part and denied in part.

                              II. Background

A.   Facts4

     This action stems from the October 24, 2011 murder of twelve-year-

old Garrett Phillips in the Village of Potsdam, New York.5 (Compl. ¶¶ 35-

40.) After receiving a call from a neighbor stating that she heard moans

and the word “help” coming from Phillips’ apartment, Potsdam Police

responded and found Phillips unconscious. (Id., Attach. 15 at 2.) Phillips

was later pronounced dead, and the cause of his death was eventually

determined to be strangulation. (Id.)

     At the time, Hillary, “who is of Jamaican de[s]cent,” had known

Phillips for one year. (Id. ¶¶ 45, 48.) Hillary “met [his] mother, Tandy



employees.
      3
        “Village defendants” refers collectively to the following defendants:
Village of Potsdam, Village of Potsdam Police Department, Village of
Potsdam Police Chief Edward Tischler, Village of Potsdam Police Chief
Kevin Bates, and Village of Potsdam Police Lieutenant Mark Murray.
      4
      Unless otherwise noted, the facts are drawn from Hillary’s
complaint and presented in the light most favorable to him.
      5
      The Village of Potsdam is located in St. Lawrence County.
(Compl. ¶ 60.)
                                        4
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Cyrus, in October . . . 2010; they had become friends, dated, [and] lived

together . . . [until] September 2011.” (Id. ¶ 46.) Two days after Phillips’

death, Hillary was taken into custody, strip searched, and held for ten

hours.6 (Id. ¶ 41.) Hillary asserts that there was evidence pointing to St.

Lawrence County Deputy Sheriff John Jones as a prime suspect in the

murder investigation7; however, Jones was not subjected to the same

scrutiny as Hillary, and was allowed to play an active role in the

investigation. (Id. ¶¶ 49-56.)

      During the investigation,8 New York State Police (NYSP) forensic



      6
        Hillary does not specify who took him into custody or conducted
the strip search. (See generally Compl.) However, it can be inferred that
Village of Potsdam police officers were responsible. (Id. ¶¶ 57-59.)
      7
         Jones was in a prior relationship with Cyrus that had deteriorated.
(Compl. ¶ 49.) For instance, “nine months before . . . Phillips’ death,
. . . Cyrus . . . made a complaint against Jones, stating that ‘[he] has been
acting in various ways that causes me to fear for the safety of myself and
my sons.’” (Id. ¶ 76.) Jones also had a pending lawsuit against Cyrus at
the time of Phillips’ death. (Id. ¶ 78.) Further, Hillary alleges that a video
shows Jones in the vicinity of the crime scene at the time of Phillips’
murder. (Id. ¶ 84.)
      8
        Although Hillary fails to specifically allege the time period of the
investigation, it seems that it primarily occurred sometime before Mary
Rain became District Attorney, given Hillary’s contention that “District
Attorney [Nicole] Duvé would not sign off on these baseless accusations.”
(Compl. ¶ 74.)
                                       5
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units assisted Village of Potsdam Police in collecting and analyzing

evidence. (Id. ¶¶ 72, 117.) The St. Lawrence County District Attorney’s

Office and Sheriff’s Department also assisted in some fashion.9 (Id. ¶ 72.)

Village of Potsdam Police Lieutenant Mark Murray thought Hillary was “a

high[,] high person of interest or potential suspect.” (Id. ¶ 63.) Even

though Village of Potsdam Police Chief Edward Tischler would later testify

that analysis of Hillary’s fingerprints did not place him at the crime scene,

(id. ¶ 64 (citing Attach. 7)), Lieutenant Murray described a range of

circumstantial evidence that he thought connected Hillary to the murder,

(id., Attach. 6 at 3-8).10 At the time, St. Lawrence County District Attorney

Nicole Duvé did not bring charges against Hillary. (Id. ¶¶ 62, 74.)

      In September 2012, Hillary filed a lawsuit that ended up in this court

(hereinafter “Hillary I”) against the Village of Potsdam, Chief Tischler,

Lieutenant Murray, and other Village of Potsdam Police officers based on

his arrest, the seizure of his personal effects, and an incident with police at

his home in the fall of 2011. (Id. ¶¶ 57-59; see Hillary I, 7:12-cv-1669, Dkt.

      9
       Hillary does not specifically discuss the role that these defendants
played in the investigation. (Compl. ¶ 72.)
      10
       Hillary faults Lieutenant Murray with misrepresenting this
evidence. (Compl. ¶¶ 80-86.)
                                       6
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No. 23.) Six months after Hillary commenced that action, Mary Rain

announced that she would run for St. Lawrence County District Attorney

after being “encouraged” to do so by “local law enforcement officials and

officers.” (Compl. ¶ 61 (internal quotation marks omitted).) During her

ensuing campaign, Rain criticized District Attorney Duvé for being

uncooperative with law enforcement and accused her of “incompetence,

mismanagement, and the failure to investigate the . . . Phillips killing.” (Id.

¶ 65 (internal quotation marks and footnote omitted).) “Rain pledged to

solve the [Phillips] case and bring the killer to justice.” (Id. ¶ 66.)

      In November 2013, Rain was elected St. Lawrence County District

Attorney, and, on May 15, 2014, “Hillary was charged with the death

of . . . Phillips.”11 (Id. ¶¶ 4, 68 n.5.) At the time of Hillary’s indictment, Rain

praised “the fabulous job done by [the] Potsdam P[olice Department] and

[NYSP],” (id. ¶ 68 (internal quotation marks omitted)), and posted on social

media that “it was great to see . . . Hillary in handcuffs,” (id. ¶ 70 (internal

quotation marks omitted) (citing Attach. 8)).

       11
        It appears that Hillary was indicted on this date. (Compl. ¶ 68.)
However, it is unclear if this occurred before or after Potsdam Police
arrested Hillary. (Id. at 11 n.6.) That is, Hillary does not specify if criminal
proceedings were initiated by a summary arrest, the filing of a felony
complaint, or the grand jury indictment.
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      Allegations related to the investigation after District Attorney Rain

assumed office are limited. Hillary alleges that Rain lied in an affidavit

when she swore that Hillary was the last person seen with Phillips. (Id.

¶ 79 (citing Attach. 11).) Hillary also criticizes Rain’s public statements that

Hillary was “‘a habitual marijuana smoker’” and had been “‘arrested for

having a pound or more of marijuana in 2000.’” (Id. ¶ 87.) Additionally,

Hillary alleges that Rain threatened one of his alibi witnesses with

obstruction and another with a grand jury subpoena, which “forc[ed] the

[latter] witness to reveal privileged attorney-client communications.” (Id.

¶ 88.) Furthermore, Hillary alleges that Lieutenant Murray and NYSP

Officer Gary Snell went to the home of an alibi witness––several times

unannounced––and told him that he could change a prior statement

without getting in trouble. (Id. ¶ 91 (citing Attach. 12).) Hillary alleges that

“[t]he police” told the witness that the District Attorney was listening and

watching their conversation, and that he could be charged for lying or

withholding information. (Id. ¶ 89 (citing Attach. 12).) During one of these

encounters, NYSP Investigator Tim Peets was also present and yelled at

the witness. (Id. ¶ 90 (citing Attach. 12).)

      On October 16, 2014, the initial indictment against Hillary was

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dismissed based upon prosecutorial misconduct by Rain. (Id. ¶¶ 93-104.)

It is unclear whether Hillary was detained at this time and, if so, if and

when he was released from detention. (See generally id.) On January 21,

2015, the case was presented to a different grand jury, which returned an

indictment charging Hillary with second-degree murder. (Id. ¶ 108 & n.12.)

Also unclear is whether the same evidence was used and if Hillary was

arrested again or remained in detention. (See generally id.)

      At Hillary’s trial, Rain enlisted Onondaga County District Attorney

William Fitzpatrick to assist the prosecution given the complexities of the

case, including “low-copy DNA, video surveillance, and dozens of witness

interviews and statements.” (Id. ¶ 116 (internal quotation marks omitted).)

On January 25, 2016, Fitzpatrick informed the St. Lawrence County Court

that he did not know whether the NYSP used TrueAllele12 to analyze DNA

       12
         “TrueAllele, created by Cybergenetics, is a computerized DNA
interpretation system that infers genetic profiles from DNA samples.”
(Compl. ¶ 135.) Before its implementation, “the [NYSP] [c]rime [l]ab used
the Combined Probability of Inclusion (CPI) to statistically evaluate DNA
mixtures.” (Id. ¶ 123.) However, based on concerns with the reliability of
CPI, the NYSP transitioned to TrueAllele. (Id. ¶¶ 123-39.) Fitzpatrick
allegedly knew that CPI “‘[wa]s not accepted as valid science [and that all
of the] DNA convictions that used CPI [we]re at risk, either because of
unreported potentially exculpatory “inconclusive” results, or inaccurate
inculpatory match statistics used at trial.’” (Id. ¶ 151 (internal footnote
omitted).) Despite the NYSP’s commitment to transition to TrueAllele,
                                       9
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evidence, despite the fact that “he had received a copy of a report which

Cybergenetics13 had performed for the State in . . . Hillary’s case” and “had

been told by [Cybergenetics] on September 10, 2015, via email, that they

advised retesting and, he was informed that the State lab was also

informed of this via an email correspondence.” (Id. ¶¶ 152, 157, 159.)

Hillary attempts to link these allegations to his suggestion that flawed DNA

evidence was the only evidence linking him to the crime scene. (Id.

¶¶ 118, 121.) However, the majority of Hillary’s allegations relating to the

DNA analysis, who conducted such analysis, and any underlying

impropriety is muddled. (Id. ¶¶ 116-66.) Creating a coherent sequence of

events requires splicing the factual assertions on the face of the complaint

and the accompanying exhibits.

      As best the court can tell, sometime prior to 2013, the NYSP crime

lab processed samples of the DNA collected from the crime scene, Phillips’



Julie Pizziketti, Ray Wickenheiser, and unidentified Jane/John Does
#41-50 allegedly tried to undermine its implementation because it would
have disclosed improper activity, refuted the testimony of forensic
scientists, and called into question prior convictions. (Id. ¶¶ 136, 140-50.)
      13
      According to its website, Cybergenetics is a bioinformation
company that uses advanced mathematics and computers to translate
DNA data into useful information. (Compl. ¶ 134 n.16.)
                                      10
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clothing, and Hillary. (Id., Attach. 15 at 2-3.) “[Hillary] was excluded from

all samples taken at the [crime scene] where comparisons could be made

except for a DNA mixture profile from fingernail scrapings taken from

[Phillips’] left hand. Due to insufficient genetic information, [Hillary] could

neither be included nor excluded as a possible contributor to the mixture.”14

(Id. at 3.) In 2013, the NYSP crime lab reached out to Cybergenetics to

analyze the fingernail scrapings using TrueAllele. (Id.) Those results were

also inconclusive. (Id.) After Hillary’s initial indictment in 2014,

prosecutors directed the NYSP crime lab to send its data to the Institute of

Environmental Science and Research, which analyzed it using STRmix.15

(Id.) The NYSP crime lab was not accredited to employ STRmix and did

not conduct any internal validation studies using STRmix. (Id. at 5 n.3.)




       14
         Hillary alleges “[u]pon information and belief” that “both [District
Attorneys Fitzpatrick] and . . . Rain were aware that ‘there was no
statistical support for a match between . . . fingernail scrapings from the
left hand of . . . Phillips . . . and . . . Hillary[.]’” (Compl. ¶ 121.) Apparently,
“[Lieutenant] Murray’s statement reflects that he knew this as well.” (Id.
¶ 122.)

       15
       Hillary fails to define STRmix or connect it to the issues he
associates with CPI. (See generally Compl.)
                                        11
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Ultimately, in August 2016, County Court Judge Felix Catena16 ruled that

the STRmix results were inadmissible at Hillary’s trial given “the lack of

internal validation by the [NYSP] crime lab.” (Id. at 8, 10.)

      On September 28, 2016, following a bench trial, Hillary was found not

guilty. (Id. ¶ 167.) After the verdict, Fitzpatrick sent an email to the

Cybergenetics CEO that stated, “it is to my everlasting regret that I was

unable to convince a judge about the value of [certain] DNA evidence and

that as a result of that a sociopathic killer of a helpless 12-year-old boy

now walks among us.” (Id., Attach. 16 at 3.) Two months after the verdict,

St. Lawrence County legislators voted on a resolution requesting Rain’s

resignation.17 (Id. ¶ 169.)

B.    Procedural History

      On May 15, 2017, Hillary commenced this case in the Eastern

District of New York. (Compl.) He asserted the following § 1983 claims


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        By this time, the County Court Judge originally assigned to the
case had “recused himself from all criminal cases involving District
Attorney Rain after filing a complaint against her with the Committee on
Professional Standards.” (Compl. ¶ 162 (internal footnote omitted).)
       17
        Previously, “the St. Lawrence County Board of Legislators voted
no confidence in District Attorney Rain citing ‘lapses in judg[]ment and
unethical behavior.’” (Compl. ¶ 163 (internal footnote omitted).)
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against all defendants: false arrest; malicious prosecution; conspiracy;

fabrication of evidence; failure to disclose exculpatory evidence; violation of

rights under the Equal Protection Clause of the Fourteenth Amendment;

retaliatory prosecution in violation of the First Amendment; due process

and stigma-plus defamation; and municipal and corporate liability.18 (Id.

¶¶ 174-79, 180-94,195-208, 209-15, 216-21, 222-27, 228-33, 234-40, 241-

49.) Hillary also asserted the following state law claims against all

defendants: negligent hiring, training, supervision, and retention; false

imprisonment/false arrest; and abuse of process. (Id. ¶¶ 256-65, 266-71,

272-80.)

      On June 15, 2017, the court stayed the proceedings in Hillary I

pending resolution of this case or until such time as this case becomes trial

ready. See Hillary I, 7:12-cv-1669, Text Only Minute Entry of June 15,

2017. On June 16, 2017, venue in this case was transferred to this court.

(Dkt. No. 17.) On July 27, 2017, State defendants filed a motion to dismiss

pursuant to Fed. R. Civ. P. 12(b)(1) and (6), (Dkt. No. 39), which was


      18
         Hillary also purports to assert “supervisor liability” as a separate
claim. (Compl. ¶¶ 250-55.) However, these assertions merely present a
different legal theory by which to impose liability on defendants for the
previously enumerated § 1983 claims.
                                      13
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followed by County defendants’ motion to dismiss pursuant to Fed. R. Civ.

P. 12(c) on November 13, 2017, (Dkt. No. 58), and then Village

defendants’ motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6) and

12(c) on February 27, 2018, (Dkt. No. 70).

            III. Standards of Review and Papers Considered

A.    Rule 12(b)(6)

      The standard of review under Fed. R. Civ. P. 12(b)(6) is well settled

and will not be repeated here. For a full discussion of the standard, the

court refers the parties to its prior decision in Ellis v. Cohen & Slamowitz,

LLP, 701 F. Supp. 2d 215, 218 (N.D.N.Y. 2010).

B.    Rule 12(b)(1)

      Under Fed. R. Civ. P. 12(b)(1), the standard of review is similar,

except that the court “may refer to evidence outside the pleadings . . . [and]

[a] plaintiff asserting subject matter jurisdiction has the burden of proving

by a preponderance of the evidence that it exists.” Makarova v. United

States, 201 F.3d 110, 113 (2d Cir. 2000).19




       19
       Unless otherwise noted, case quotations omit all internal quotation
marks, alterations, footnotes, and citations.
                                      14
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C.    Rule 12(c)

      It is also well settled that

      [i]n deciding a Rule 12(c) motion, [the court] employ[s] the
      same standard applicable to dismissals pursuant to Fed. R.
      Civ. P. 12(b)(6). Thus, [it] will accept all factual allegations in
      the complaint as true and draw all reasonable inferences in
      [plaintiff’s] favor. To survive a Rule 12(c) motion, [plaintiff’s]
      complaint must contain sufficient factual matter, accepted as
      true, to state a claim to relief that is plausible on its face.

Hayden v. Paterson, 594 F.3d 150, 160 (2d Cir. 2010). Nonetheless, in

response to both County and Village defendants’ motions, Hillary argues

that dismissal under Fed. R. Civ. P. 12(c) is “unavailable as a matter of

law” because these defendants do not admit or controvert all material

allegations of fact in the complaint, which he argues “is the ‘only’

circumstance in which post-answer dismissal motions are appropriate.”

(Dkt. No. 64 at 2; Dkt. No. 74 at 9-10.) However, Fed. R. Civ. P.

12(h)(2)(B) permits a motion for judgment on the pleadings pursuant to

Fed. R. Civ. P. 12(c) to include the defense of failure to state a claim upon

which relief can be granted. See 5C Wright & Miller, Federal Practice &

Procedure § 1367 (3d ed. 2018). “In considering motions under Federal

Rule 12(c), district courts frequently indicate that a party moving for a

judgment on the pleadings impliedly admits the truth of its adversary’s

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allegations and the falsity of its own assertions that have been denied by

that adversary.” Id. § 1370 (internal footnote omitted). Under such

circumstances, “Rule 12(c) is merely serving as an auxiliary or

supplementary procedural device to determine the sufficiency of the case

before proceeding any further and investing additional resources in it.” Id.

§ 1367 (internal footnote omitted). “The mere fact that . . . procedural

defects are raised in the guise of a Rule 12(c) motion should not affect the

manner by which the court determines what essentially are Rule 12(b)

matters.” Id.

D.    Papers Considered

      As already stated, the court may consider evidence outside the

pleadings in deciding a Fed. R. Civ. P. 12(b)(1) motion. See Makarova,

201 F.3d at 113.

      In deciding a Rule 12(b)(6) or (12)(c) motion, the court may consider

the complaint, any exhibit attached to the complaint, materials incorporated

by reference, and documents that are integral to the complaint. See Sira v.

Morton, 380 F.3d 57, 67 (2d Cir. 2004). The court may also take notice of

matters of public record, see Pani v. Empire Blue Cross Blue Shield, 152

F.3d 67, 75 (2d Cir. 1998), including “the full contents of the published

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articles referenced in the complaint,” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 568 n.13 (2007).

      Here, Hillary attaches seventeen exhibits to his complaint, (Compl.,

Attachs. 1-17), which the court properly considers at this stage. See

Morton, 380 F.3d at 67. Additionally, Hillary provides links to various online

news articles and videos throughout the complaint. (See generally Compl.)

To the extent that these public records are referenced by the complaint

and accessible, they are considered. See Twombly, 550 U.S. at 568 n.13;

Pani, 152 F.3d at 75. However, certain references are not considered

because they are inaccessible, and Hillary has not otherwise provided

them to the court. (Compl. ¶ 72 n.7, ¶ 117 n.14.)

                               IV. Discussion

A.    Eleventh Amendment

      1.    Claims Against the NYSP and State Defendants in their Official
            Capacities

      State defendants argue that Hillary’s claims against the NYSP and

individual State defendants in their official capacities are barred by the

Eleventh Amendment. (Dkt. No. 39, Attach. 1 at 3-4.) Hillary does not

object to this portion of State defendants’ motion, but instead requests to


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withdraw all claims against State defendants in their official capacities.20

(Dkt. No. 47 at 15.)

      It is well settled that, generally, suits seeking money damages from

the states under § 1983 are barred by the Eleventh Amendment. See Will

v. Mich. Dep’t of State Police, 491 U.S. 58, 66 (1989). “This constitutional

bar applies to pendent claims as well.” Pennhurst State Sch. & Hosp. v.

Halderman, 465 U.S. 89, 120 (1984). Moreover, this bar applies to suits

against state officials when sued in their official capacities for damages,

see Ying Jing Gan v. City of New York, 996 F.2d 522, 529 (2d Cir. 1993),

and arms of the state, like the NYSP, see Estes-El v. Town of Indian Lake,

954 F. Supp. 527, 537 (N.D.N.Y. 1997). Here, Hillary sues the individual

State defendants in their official capacities and only seeks monetary relief.

(Compl. at 1, 41.) As such, Hillary’s claims against the NYSP and the

individual State defendants in their official capacities are dismissed.

      2.    Claims Against St. Lawrence County District Attorney’s Office

      Similarly, County defendants argue that any claims against the St.

      20
         To the extent that Hillary attempts to invoke Fed. R. Civ. P. 41 in
an effort to escape a dismissal with prejudice, his effort is stifled by his
failure to file a proper notice of voluntary dismissal or a stipulation of
dismissal signed by all parties. See Fed. R. Civ. P. 41(a)(1)(A)(i)-(ii).


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Lawrence County District Attorney’s Office are barred by the Eleventh

Amendment. (Dkt. No. 58, Attach. 3 at 18-19.) Hillary does not respond to

this argument. (See generally Dkt. No. 64.) Given that Hillary does not

object to the facially meritorious case law presented by County defendants

standing for the proposition that claims against the District Attorney’s

Office are barred by the Eleventh Amendment, see Ying Jing Gan, 996

F.2d at 529; Woodward v. Office of Dist. Atty., 689 F. Supp. 2d 655, 659

(S.D.N.Y. 2010), those claims are dismissed. See Johnson v. Lew, No.

1:13–CV–1072, 2015 WL 4496363, at *5 & n.6 (N.D.N.Y. July 23, 2015)

(“In this District, when a non-movant willfully fails to oppose a legal

argument asserted by a movant, the movant’s burden with regard to that

argument is lightened, such that, in order to succeed on that argument, the

movant need only show that the argument possess[es] facial merit, which

has appropriately been characterized as a modest burden.”).

B.    Qualified Immunity

      Village defendants argue that the claims against them are barred by

the doctrine of qualified immunity because none of their alleged conduct

violated clearly-established law. (Dkt. No. 70, Attach. 1 at 24-26.)

However, the lone case they cite in support of this theory is inapposite: it

                                       19
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deals with “the absolute immunity that protects prosecutors” and

specifically mentions that such immunity “does not prevent a damages

action against other defendants.” Schloss v. Bouse, 876 F.2d 287, 292 (2d

Cir. 1989). Because Village defendants’ legal analysis needs fine tuning, it

is denied with leave to renew.

C.    Res Judicata

      Village defendants argue that Hillary’s claims are precluded by the

court’s previous decision in Hillary I.21 (Dkt. No. 70, Attach. 1 at 8-10.)

      “Res judicata bars re-litigation if (1) the previous action involved an

adjudication on the merits; (2) the previous action involved the plaintiffs or

those in privity with them; (3) the claims asserted in the subsequent action

were, or could have been, raised in the prior action.” Soules v. Conn.,

Dep’t of Emergency Servs. and Pub. Prot., 882 F.3d 52, 55 (2d Cir. 2018).

Village defendants assume the first two elements are met, (Dkt. No. 70,

Attach. 1 at 8-10), and Hillary concedes as much by arguing only that “the

doctrine of res judicata does not apply because the claims asserted in this


       21
        Village defendants also seek dismissal of Hillary’s complaint
based on a theory of collateral estoppel; however they fail to develop this
theory. (Dkt. No. 70, Attach. 1 at 8.) Accordingly, to the extent that this is
even part of their motion, it is denied.
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complaint were not, and could not have been, raised in [Hillary I],” (Dkt. No.

74 at 5). Accordingly, the only issue for the court to decide is whether

Hillary’s claims in this action were raised, or could have been raised, in

Hillary I.

       To resolve this issue, courts consider the following:

       [W]hether the second lawsuit concerns the same claim—or
       nucleus of operative facts—as the first suit, applying three
       considerations: (1) whether the underlying facts are related in
       time, space, origin, or motivation; (2) whether the underlying facts
       form a convenient trial unit; and (3) whether their treatment as a
       unit conforms to the parties’ expectations.

Soules, 882 F.3d at 55. “The question is not whether the applicable

procedural rules permitted assertion of the claim in the first proceeding;

rather, the question is whether the claim was sufficiently related to the

claims that were asserted in the first proceeding that it should have been

asserted in that proceeding.” Pike v. Freeman, 266 F.3d 78, 91 (2d. Cir.

2001). “For the purposes of res judicata, [t]he scope of litigation is framed

by the complaint at the time it is filed.” Comput. Assocs. Int’l, Inc. v. Altai,

Inc., 126 F.3d 365, 369-70 (2d Cir. 1997). That is, “[t]he res judicata

doctrine does not apply to new rights acquired during the action which

might have been, but which were not, litigated.” Id. at 370; see Burgos v.


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Hopkins, 14 F.3d 787, 790 (2d Cir. 1994) (finding res judicata inapplicable

“where the initial forum did not have the power to award the full measure of

relief sought in the later litigation”).

      To be sure, Hillary I also included the Village of Potsdam, Lieutenant

Murray, and Chief Tischler as defendants and related to the investigation

of Hillary regarding the murder of Phillips. Compare Hillary I, Dkt. No. 84

at 1-5, with supra Part II.A. Moreover, Hillary’s allegation in this action that

law enforcement “pursued a course to target [him] for . . . Phillips’ murder,”

(Compl. ¶ 72), is the same motivation underlying the events in Hillary I,

(see generally Compl., Hillary I).

      However, the claims differ in one notable aspect: Hillary I originated

from Hillary’s arrest in 2011, whereas Hillary contends that “the current

claims against the [Village] [d]efendants . . . are wholly based on their

actions and conduct in arresting and prosecuting [Hillary] in 2014-2015 for

[Phillips’] murder.” (Dkt. No. 74 at 3, 5.) Moreover, Hillary is correct that

he “could not have . . . alleged [certain] claims herein in [Hillary I] as they

were not yet ripe . . . until his criminal prosecution was favorably terminated

on September 28, 2016.” (Id. at 4-5; see also Burgos, 14 F.3d at 790.) In

any event, although Hillary had the opportunity to seek leave to amend his

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complaint in Hillary I to assert new claims based on subsequent

developments in the investigation and prosecution, he was not required to

do so. See Altai, Inc., 126 F.3d at 370.

      As such, despite their similarities, these claims could not have been

litigated in Hillary I. Therefore, the doctrine of res judicata is inapplicable,

and Village defendants’ motion in this regard is denied. That being said,

the court construes Hillary’s concession that the conduct supporting his

current claims against Village defendants occurred between 2014 and

2015 as an abandonment of any claims against Village defendants based

on alleged conduct occurring prior to this time period. See Jackson v. Fed.

Express, 766 F.3d 189, 196 (2d Cir. 2014) (“Where abandonment by a

counseled party is not explicit but such an inference may be fairly drawn

from the papers and circumstances viewed as a whole, district courts may

conclude that abandonment was intended.”).

D.    Municipal Liability

      Generally, in addition to demonstrating an injury to a constitutionally-

protected right, a plaintiff bringing a § 1983 action against a municipality is

required to identify an official custom or policy of the municipal defendant

and establish a causal connection between the alleged injury and that

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custom or policy. See Monell v. Dep’t of Soc. Servs. of the City of N.Y.,

436 U.S. 658, 690, 694 (1978); Jean-Laurent v. Wilkerson, 461 F. App’x

18, 22 (2d Cir. 2012). A plaintiff can establish the existence of a custom or

policy by: (1) demonstrating that an unconstitutional decision was issued

from an authorized policymaker, see Bd. of Cty. Comm’rs of Bryan Cty. v.

Brown, 520 U.S. 397, 406 (1997); (2) showing that a municipal agent’s

conduct was part of a widespread practice that constitutes a custom or

usage with the force of law, see City of St. Louis v. Praprotnik, 485 U.S.

112, 127 (1988); or (3) demonstrating that a municipality was deliberately

indifferent in failing to train or supervise its employees, see Cash v. County

of Erie, 654 F.3d 324, 334 (2d Cir. 2011). Vague and conclusory

assertions of a municipal custom or policy are insufficient to effectively

plead such a claim, absent “allegations of fact tending to support, at least

circumstantially, such an inference.” Zherka v. City of New York, 459 F.

App’x 10, 12 (2d Cir. 2012). It is also well settled that “[a] municipality and

its supervisory officials may not be held liable in a § 1983 action for the

conduct of a lower-echelon employee solely on the basis of respondeat

superior.” Ricciuti v. N.Y.C. Transit Auth., 941 F.2d 119, 122 (2d Cir.

1991). And “a single incident alleged in a complaint, especially if it

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involved only actors below the policy-making level, does not suffice to

show a municipal policy.” Id. at 123.

      Hillary’s Monell claims are based on “both formal policies, and

practices so consistent and widespread that . . . constitute a custom or

usage” and “policymakers[’] fail[ure] to provide adequate training or

supervision to subordinates to such an extent that it amounted to

deliberate indifference.” (Compl. ¶ 244.)

      1.    State Defendants

      Hillary’s remaining claims against individual State employees cannot

form a basis for municipal liability. See Holmes v. LeClair, No.

9:09–CV–437, 2012 WL 5880360, at *4 n.11 (N.D.N.Y. Oct. 11, 2012)

(“Plaintiff is suing individuals who work for the State of New York, not a

municipality, thus, municipal liability claims do not exist.”).22

      2.    County Defendants

      County defendants argue that the complaint is devoid of allegations

giving rise to any theory of municipal liability. (Dkt. No. 58, Attach. 3 at 5-

16.) Hillary confines his response to arguing that the County can be held


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        Moreover, Hillary consents to the dismissal of these claims. (Dkt.
No. 47 at 15.)
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liable for the actions of District Attorney Rain and Sheriff Wells because

they are final policymakers. (Dkt. No. 64 at 2-6.) As constrained by

Hillary’s response, the court considers any arguments in opposition to the

remainder of County defendants’ municipal liability argument waived, and,

therefore, will only address the issue of whether the complaint alleges that

an unconstitutional decision was issued from an authorized policymaker.

See Jackson, 766 F.3d at 196.

            a.    District Attorney Rain

      It is well settled that a district attorney’s misconduct in prosecuting an

individual does not give rise to municipal liability. See Baez v. Hennessy,

853 F.2d 73, 77 (2d Cir. 1988) (“The responsibilities attendant the position

of [district attorney] necessitate the exercise of completely impartial

judgment and discretion.”). However, “[w]here a district attorney acts as

the manager of the district attorney’s office, the district attorney acts as a

county policymaker.” Walker v. City of New York, 974 F.2d 293, 301 (2d

Cir. 1992); see Gentile v. County of Suffolk, 926 F.2d 142, 152 n.5 & 153

(2d Cir. 1991) (holding a county liable for a district attorney’s long practice

of ignoring evidence of police wrongdoing). “Consequently, as long as a

plaintiff’s claims center . . . not on decisions whether or not, and on what

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charges, to prosecute but rather on the administration of the district

attorney’s office, there can be liability against a New York county for an

alleged [§ 1983 claim].” Pinaud v. County of Suffolk, 52 F.3d 1139, 1153

n.14 (2d Cir. 1995).

         Hillary argues that “whether [District Attorney Rain] was acting as

prosecutor or more broadly as manager of the office . . . remains in sharp

dispute.” (Dkt. No. 64 at 2-3.) In sum, Hillary appears to allege that the

following conduct is enough to impute liability on the County: Rain’s

“campaign promise” to bring Phillips’ killer to justice, (Compl. ¶ 66), her

criticism of District Attorney D[uvé]’s handling of the investigation before

being elected, (id. ¶ 65), her decision to prosecute Hillary despite a lack of

DNA evidence, (id. ¶¶ 68, 121), her employment of Fitzpatrick, (id. ¶¶ 116,

156-61), and her conduct leading to an ethics complaint against her as well

as the County seeking her resignation, (id. ¶¶ 162, 163, 169). (Dkt. No. 64

at 3.)

         Hillary fails to explain how any of these allegations, even if accepted

as true, involve the administration of the District Attorney’s office. Cf.

Gentile, 926 F.2d at 152 n.5. Several of the allegations relate to conduct

that occurred before Rain was even elected District Attorney. (Compl.

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¶¶ 61-66.) This cannot possibly bind the County vis-à-vis Rain. Cf. Brown,

520 U.S. at 406. Although two of the newspaper articles referenced by

Hillary discuss conduct by Rain that could arguably be described as

managerial, they deal with a “lack of prosecution” and do not relate to

Hillary’s case or any other conduct outlined in the complaint. (Compl.

¶¶ 163 n.22.) The remaining allegations that Hillary points to, (id. ¶¶ 68,

116, 121, 156-62), clearly fall under the category of whether to prosecute

and other discretionary decisions made by Rain during her representation

of the people of the State of New York. See Baez, 853 F.2d at 77 (“It is

well established in New York that the district attorney, and the district

attorney alone, should decide when and in what manner to prosecute a

suspected offender.”) (emphasis added). Rain’s decision on what manner

to prosecute Hillary, including her seeking assistance from Fitzpatrick,

were “simply implementations of the prosecutorial decision” to prosecute

Hillary for a state crime. Cf. Eisenberg v. Dist. Attorney of Cty. of King, No.

CV–93–1647, 1996 WL 406542, at *7 (E.D.N.Y. July 16, 1996); see Baez,

853 F.2d at 77 (“A county has no right to establish a policy concerning how

[the District Attorney] should prosecute violations of State penal laws.”).

      Accordingly, the allegations relied on by Hillary to invoke municipal

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liability based on Rain’s conduct are insufficient.

            b.    Sheriff Wells

      Next, following his confused theory regarding Fed. R. Civ. P. 12(c)

motions discussed earlier, Hillary argues that, because he alleges that the

County has delegated final policymaking authority to the County Sheriff,

(Compl. ¶ 21), and County defendants’ deny this allegation, their motion

should be denied. (Dkt. No. 64 at 4-5.) First, the court need not accept

“legal conclusions masquerading as factual conclusions.” Smith v. Local

819 I.B.T. Pension Plan, 291 F.3d 236, 240 (2d Cir. 2002). Second, as

discussed more thoroughly below, see infra Part IV.E.1, even assuming

that Sheriff Wells was a final policymaker capable of binding the County

through his acts or omissions, the complaint is void of any such acts or

omissions to serve as a basis for imputing liability on the County. (See

generally Compl.)

      As such, Hillary has not sufficiently stated Monell claims against the

County, and this portion of County defendants’ motion is granted.

      3.    Village Defendants

      Village defendants argue that “the vague and conclusory allegations

of the [c]omplaint do not specify the alleged conduct of any of the

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defendants and, therefore, [Hillary] has not sufficiently pled, and cannot

establish, a [Monell] claim against . . . Village defendants.” (Dkt. No. 70,

Attach. 1 at 20.) In response, Hillary argues that complaint pleads the

required elements of a Monell claim and supports those elements with

“specific allegations of fact.” (Dkt. No. 74 at 17.) Yet, Hillary fails to

identify any allegations that allow the court to reasonably infer the

existence of a municipal policy or practice leading to a constitutional injury.

(Id.) Instead, the only argument Hillary makes regarding a specific theory

of municipal liability is that “Chief [Tischler], who was, himself, a

policy-maker . . . was directly involved in the acts giving rise to the alleged

constitutional violations.” (Id. at 18.) However, Hillary stops short of

identifying specific allegations regarding Chief Tischler’s “final policymaking

authority in the particular area involved.” Jeffes v. Barnes, 208 F.3d 49, 57

(2d Cir. 2000). Moreover, as discussed below, there are no allegations

that any decision made by Chief Tischler caused a constitutional injury.

See infra Part IV.E.2.

      As such, Hillary has not sufficiently stated Monell claims against the

Village, and this portion of Village defendants’ motion is also granted.

E.    Personal Involvement

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      “It is well settled in this Circuit that personal involvement of

defendants in alleged constitutional deprivations is a prerequisite to an

award of damages under § 1983.” Colon v. Coughlin, 58 F.3d 865, 873

(2d Cir. 1995); see Provost v. City of Newburgh, 262 F.3d 146, 154, 155

(2d Cir. 2001) (noting that § 1983 liability requires intentional participation

in the unconstitutional conduct). Ancillary to this rule,

      [a] supervisory official is liable for constitutional violations if he or
      she (1) directly participated in the violation; (2) failed to remedy
      the violation after learning of it through a report or appeal; (3)
      created a custom or policy fostering the violation or allowed the
      custom or policy to continue after learning of it; or (4) was grossly
      negligent in supervising subordinates who caused the violation.

Sealey v. Giltner, 116 F.3d 47, 51 (2d Cir. 1997). “Because vicarious

liability is inapplicable to . . . § 1983 suits, a plaintiff must plead that each

[g]overnment-official defendant, through the official’s own individual

actions, has violated the Constitution.” Ashcroft v. Iqbal, 556 U.S. 662,

676 (2009). Furthermore, “complaints relying on the civil rights statutes

are insufficient unless they contain some specific allegations of fact

indicating a deprivation of rights, instead of a litany of general conclusions

that shock but have no meaning.” Barr v. Abrams, 810 F.2d 358, 363 (2d

Cir. 1987) (collecting cases).


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      1.    Claims Against Wells, Levinson, Bates, and Doe Defendants
            #1-30

      The complaint only mentions Sheriff Kevin Wells, NYSP Investigator

Theodore Levinson, and Police Chief Kevin Bates in the caption. (See

generally Compl.) Despite Hillary’s arguments to the contrary, (Dkt. No. 74

at 823), there are no allegations in the complaint that can be fairly attributed

to these defendants and, as such, the claims against them are dismissed

for a lack of personal involvement.24 See McAvoy v. DeMarco, No.

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          Hillary’s argument that, because Bates was named in the caption
as the former Chief of the Village of Potsdam Police Department, “it is
plausible for the court to draw the reasonable inference that [Bates] is
liable for the misconduct alleged in the [c]omplaint against the Potsdam
Police Department under his control,” (Dkt. No. 74 at 8 (citing Compl.
¶¶ 22-23)), is belied by the fact that he names multiple former police
chiefs in the caption without ever differentiating which events occurred
while they were in charge of the department. (See generally Compl.) As
such, inferring Chief Bates’ personal involvement would not be
reasonable. See Grullon v. City of New Haven, 720 F.3d 133, 139 (2d Cir.
2013) (finding claims were properly dismissed where “[t]here were no such
direct allegations . . . [or] indirect allegations sufficient to permit an
inference the [defendant] had acted or failed to act in any of the ways that
would subject him to personal liability for the deprivations alleged by
[plaintiff]”).
       24
        Given that Hillary’s complaint fails to allege any facts related to
these defendants, and because his responsive papers do not articulate a
reason why the above finding does not also foreclose his state law claims
against these defendants, they too are dismissed. See Morgan v. County
of Nassau, 720 F. Supp. 2d 229, 235 (E.D.N.Y. 2010); Smith v. Doe, No.
10 Civ. 3136, 2010 WL 4964394, at *1 (S.D.N.Y. Dec. 1, 2010).
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14–CV–6293, 2015 WL 1802601, at *5 (E.D.N.Y. Apr. 16, 2015) (finding no

basis for defendant’s personal involvement where he was not named in the

body of the complaint).

      Likewise, the claims against unidentified Jane/John Doe #1-10 St.

Lawrence County employees, unidentified Jane/John Doe #11-20 St.

Lawrence County District Attorney’s Office employees, and unidentified

Jane/John Doe #21-30 St. Lawrence County Sheriff employees defendants

are dismissed.25 See Shapiro v. Goldman, 14 Civ. 10119, 2016 WL

4371741, at *14 n.13 (S.D.N.Y. Aug. 15, 2016) (dismissing claims where

complaint failed to even attempt to identify any Doe defendant or allege

any specific conduct undertaken by such defendant).

      2.    Claims Against Chief Tischler

      Village defendants argue that Hillary has not sufficiently supported

his generalized claims of supervisory liability. (Dkt. No. 70, Attach. 1 at

21.) In response, Hillary argues that “Chief [Tischler], . . . wielding


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          It should be noted that County defendants’ motion seeks to
dismiss Hillary’s complaint in its entirety, (Dkt. No. 58 at 2), and Hillary
fails to address the County Doe defendants’ involvement in his response,
(see generally Dkt. No. 64). Given that the remaining Doe defendants are
not represented, the court declines to take any action regarding them at
this time.
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supervisory responsibility, was directly involved in the acts giving rise to the

alleged constitutional violations.” (Dkt. No. 74 at 18 (citing Compl. ¶¶ 44-

45, 64, 72, 117).) However, Hillary cites to paragraphs in the complaint

that do not support this theory of personal involvement, either because

they are irrelevant, (Compl. ¶¶ 44-45, 117), conclusory, (id. ¶ 72), or relate

to innocuous conduct, like the fact that Chief Tischler sent Hillary’s

fingerprints to the lab for analysis, (id. ¶ 64 & Attach. 7 at 3). (Dkt. No. 74

at 18.) To the extent that Hillary fails to raise any other allegations that

may have adequately alleged the personal involvement of Chief Tischler,

he has waived such arguments. See Jackson, 766 F.3d at 196.

Accordingly, as constrained by Hillary’s limited response, the portion of

Village defendants’ motion seeking dismissal of the claims against Chief

Tischler for a lack of personal involvement is granted.

      3.    False Arrest Claims Against State Defendants

      In order to adequately allege the personal involvement of a defendant

for a claim of false arrest, a plaintiff must allege that individual defendants

were involved in plaintiff’s arrest or allege facts that give rise to an

inference of direct involvement. See Ogunkoya v. County of Monroe, 15

CV 6119, 2017 WL 6419146, at *7 (E.D.N.Y. June 2, 2017) (dismissing

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false arrest claims in the absence of any allegations giving rise to an

inference of direct involvement); see also Tabaei v. N.Y.C. Health &

Hosps. Corp., No. 11 Civ. 2013, 2011 WL 6778500, at *4 (S.D.N.Y. Dec.

21, 2011); Rodriguez v. City of New York, 649 F. Supp. 2d 301, 305

(S.D.N.Y. 2009).

      State defendants argue that Hillary “fails to demonstrate that the

arrest in question was initiated, carried out, or intended by any of the[m].”

(Dkt. No. 39, Attach. 1 at 6.) In response, Hillary primarily relies on vague

allegations asserted against the NYSP as a whole, without ever pinpointing

specific conduct by any of the individual State defendants. (Dkt. No. 47 at

4-5.) Indeed, the complaint contains no facts from which to infer that any

of the individual State defendants arrested Hillary or directed any other

officer to arrest him. (See generally Compl.)

      The only conduct specifically attributed to individual State defendants

is NYSP Officer Snell and NYSP Investigator Peets’ interaction with an alibi

witness. (Id. ¶¶ 90-91; Attach. 12.) First, these allegations can only serve

to connect Snell and Peets to the alleged constitutional deprivation. See

Iqbal, 556 U.S. at 676. However, there is nothing from which it could even

be inferred that these interactions were linked to Hillary’s arrest; there is no

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allegation that this alibi witness ever provided information leading to an

arrest. (See generally Compl.) And there are no other allegations

describing the individual State defendants’ role in any investigation prior to

Hillary’s arrest. (Id.) That is, there are no facts from which to infer a link

between any of the individual State defendants’ conduct and Hillary’s

arrest. See Ogunkoya, 2017 WL 6419146, at *7. As such, State

defendants’ motion to dismiss Hillary’s false arrest claim is granted.

      4.    Malicious Prosecution Claims Against State Defendants

      In order to prevail on a § 1983 claim against a state actor for
      malicious prosecution, a plaintiff must show a violation of his
      rights under the Fourth Amendment and must establish the
      elements of a malicious prosecution claim under state law. To
      establish a malicious prosecution claim under New York law, a
      plaintiff must prove (1) the initiation or continuation of a criminal
      proceeding against plaintiff; (2) termination of the proceeding in
      plaintiff's favor; (3) lack of probable cause for commencing the
      proceeding; and (4) actual malice as a motivation for defendant’s
      actions.

Manganiello v. City of New York, 612 F.3d 149, 160-61 (2d Cir. 2010). “[I]n

order for an individual to ‘initiate’ a prosecution . . . it must be shown that

defendant played an active role in the prosecution, such as giving advice

and encouragement or importuning the authorities to act.” Rohman v.

N.Y.C. Transit Auth., 215 F.3d 208, 217 (2d Cir. 2000); cf. Manganiello,


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612 F.3d at 163 (finding a detective initiated plaintiff’s prosecution where

he actively participated in the investigation and regularly collaborated with

the prosecutor in an effort to ultimately bring criminal charges); Frederique

v. County of Nassau, 168 F. Supp. 3d 455, 477 (E.D.N.Y. 2016) (“[A]n

arresting officer may be held liable for malicious prosecution when a police

officer creates false information likely to influence a jury’s decision and

forwards that information to prosecutors, or when she withholds relevant

and material information.”); Llerando-Phipps v. City of New York, 390 F.

Supp. 2d 372, 382-83 (S.D.N.Y. 2005) (finding police officers initiated

criminal proceedings where they had plaintiff arraigned, filled out

complaining and corroborating affidavits, and signed felony complaint).

      State defendants argue that “[Hillary] has not asserted th[at] [State]

defendants played any role in the initiation of the prosecution against

[him].” (Dkt. No. 39, Attach. 1 at 7.) In response, Hillary asserts that “the

[c]omplaint here clearly and specifically pleads that . . . [State] [d]efendants

‘withh[eld] relevant and material information’––including critical DNA

evidence––and exerted pressure on an alibi witness to literally withhold

exculpatory evidence.” (Dkt. No. 47 at 7.) However, this assertion grossly

mischaracterizes the complaint, which fails to link any of the individual

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State defendants to the initiation of Hillary’s prosecution.

      Even assuming that Rain’s thanking of the NYSP on social media

reflects the NYSP’s active involvement in the investigation leading to

Hillary’s indictment, the post fails to identify any of the individually-named

State defendants. (Compl. ¶ 68 (citing Attach. 8).) Likewise, Chief

Tischler’s indication that the NYSP gathered and analyzed forensic

evidence used to connect Hillary to the crime, (id. ¶ 117), fails to

demonstrate that any of the individually-named State defendants played an

active role in initiating prosecution. Cf. Manganiello, 612 F.3d at 163.

Again, the complaint is void of any mention of the individual State

defendants’ involvement in the evidence collection or analysis process.

(See generally Compl.) The individual State defendants cannot be bound

to this § 1983 action by way of their employer. See Iqbal, 556 U.S. at 676.

      Moreover, as discussed more thoroughly below, see infra Part

IV.E.6, there are no specific allegations supporting Hillary’s assertion that

evidence was fabricated, and the only alleged withholding of exculpatory

evidence is attributable to Fitzpatrick, (Compl. ¶¶ 152-53). Furthermore,

there is no allegation from which it could be inferred that Snell and Peets’

interaction with an alibi witness, (id. ¶ 90-91; Attach. 12), aided in the

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initiation of the action against Hillary. (See generally id.) Even more,

nothing in the complaint allows the court to infer that Snell or Peets had

Hillary arraigned, filled out complaining or corroborating affidavits, or

signed the accusatory instrument charging him with second degree

murder. Cf. Llerando-Phipps, 390 F. Supp. 2d at 382-83. Despite Hillary’s

conjecture, (Dkt. No. 47 at 6-7), the complaint is void of any mention of

Snell or Peets creating false information or forwarding that information to

prosecutors. Cf. Frederique, 168 F. Supp. 3d at 477.

      Ultimately, because the complaint does not demonstrate that either

Snell or Peets played an active role in Hillary’s prosecution, see Rohman,

215 F.3d at 217; Manganiello, 612 F.3d at 163, the portion of State

defendants’ motion relating to Hillary’s malicious prosecution claims is

granted.

      5.    Conspiracy Claims Against State Defendants

      To survive a motion to dismiss, a conspiracy claim under 42
      U.S.C. § 1983 must allege facts plausibly suggesting that (1) an
      agreement existed between two or more state actors to act in
      concert to inflict an unconstitutional injury on plaintiff, and (2) an
      overt act was committed in furtherance of that goal. Vague and
      conclusory allegations that defendants have engaged in a
      conspiracy must be dismissed.

Vega v. Artus, 610 F. Supp. 2d 185, 202-03 (N.D.N.Y. 2009).

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      Again, Hillary primarily relies on the allegations against the NYSP as

a whole in an attempt to support a claim against the individual State

defendants. (Dkt. No. 47 at 7-8.) However, based on the limited

allegations related to Peets and Snell described above, the court agrees

with State defendants that Hillary “fails to identify how the sparsely-alleged

conduct of either of these defendants constitutes involvement in the

alleged conspiracy.” (Dkt. No. 39, Attach. 1 at 8.) Instead, Hillary asserts

“conclusory statements relating to an alleged conspiracy among

[d]efendants.” Vega, 610 F. Supp. 2d at 203. Because such allegations

are not “enough to raise a right to relief above the speculative level,”

Twombly, 550 U.S. at 555, the conspiracy claims against State defendants

are dismissed.

      6.    Fabrication of Evidence and Failure to Disclose Exculpatory
            Evidence Claims Against State Defendants

      Despite the fact that the complaint contains no allegations that any of

the individual State defendants fabricated evidence or failed to disclose

exculpatory evidence in his particular case, Hillary clings to conjecture in

an effort to save these claims. (Dkt. No. 47 at 10.) Ultimately, the court

agrees with State defendants’ characterization of Hillary’s response as a


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“convoluted attempt to articulate a claim.” (Dkt. No. 48 at 2.)

      Throughout his response, Hillary seemingly attempts to mislead the

court by asserting that his complaint says something that it does not. (Dkt.

No. 47 at 10-11.) For instance, he points to Pizziketti’s “creati[on of] false

DNA evidence in criminal cases,” her “allowing scientists to fabricate

testimony concerning ‘questionable DNA results,’” and her “g[iving] false

testimony ‘in criminal cases in which she was neither competent nor

proficient to testify.’” (Id. at 10) Additionally, Hillary asserts that Pizziketti,

Wickenheiser, and other unidentified NYSP employees undermined the

State’s transition to TrueAllele because it would have jeopardized previous

convictions. (Id.) However, Hillary fails to connect these assertions to any

type of specific actions related to Hillary’s case. Instead, the complaint

alleges that the relevant DNA evidence here was analyzed using

TrueAllele and only criticizes the use of STRmix employed by a third-party.

(Compl., Attach. 15.) Lastly, he confusingly attempts to connect the

NYSP’s alleged awareness that there was no statistical support for linking

Hillary to the crime with Fitzpatrick misinforming the County Court that he

had not seen any such report from TrueAllele. (Dkt. No. 47 at 11.)

      Even if the court accepts Hillary’s interpretation of his

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complaint––which tiptoes the delicate border between zealous advocacy

and outright falsehood––Hillary’s legal theory still fails. As noted, there are

no allegations that any of the individual State defendants were responsible

for collecting, analyzing, or presenting evidence in the investigation giving

rise to Hillary’s prosecution. (See generally Compl.) There are also no

allegations that any malfeasance on the part of Pizziketti, Wickenheiser, or

the unidentified NYSP employees was related to the investigation of

Phillips’ murder or Hillary’s subsequent criminal trial. (Id.) Lastly, the court

will not add two and two together to get five by attaching liability to State

defendants based on Fitzpatrick’s alleged withholding of evidence.

(Compl. ¶¶ 152-53; Attach. 17.)

      Accordingly, this portion of State defendants’ motion is granted.

      7.    Equal Protection Claims Against State Defendants

      State defendants argue that Hillary’s § 1983 claim based on a

violation of his rights under the Equal Protection Clause of the Fourteenth

Amendment should be dismissed because “there are no factual allegations

that would serve to support a claim that any action by . . . State defendants

was based on purposeful, impermissible considerations.” (Dkt. No. 39,

Attach. 1 at 9-10.) The court agrees.

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      Hillary contends that he was arrested because he was a black man

of Jamaican descent, whereas “[the] Potsdam Police Department obtained

evidence against Jones, but ignored it and allowed him to participate in the

investigation, even though he should have been a prime suspect.” (Dkt.

No. 47 at 11-12 (citing (Compl ¶¶ 48-56).) First, it is worth noting that

Hillary himself explicitly blames the Village of Potsdam Police Department,

as opposed to any of the individual State defendants, for treating Hillary

differently than Jones. (Id. at 11.) Next, even assuming that Hillary was

treated differently than others similarly situated because of his race or

national origin, there is nothing in the complaint to suggest how the

individual State defendants were personally involved in Hillary’s arrest or

prosecution so as to fairly attribute such conduct to them. (See generally

Compl.) As discussed ad nauseam by now, the only specific allegations in

the complaint regarding individual State defendants relate to Snell and

Peets, (id. ¶¶ 90-91; Attach. 12), and there are no allegations to suggest

that their conduct was based on the impermissible considerations required

to state an Equal Protection claim. See LeClair v. Saunders, 627 F.2d

606, 609-10 (2d Cir. 1980).

      Accordingly, this portion of State defendants’ motion is also granted.

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      8.    First Amendment Retaliatory Prosecution Claims Against State
            Defendants

      State defendants also seek dismissal of Hillary’s retaliatory

prosecution claim for a violation of his First Amendment rights. (Dkt. No.

39, Attach. 1 at 10-11.)

      In addition to a chilling effect or concrete harm, a First
      Amendment retaliation claim requires that the plaintiff show (1)
      that the speech or conduct at issue was protected, (2) that the
      defendant took adverse action against the plaintiff, and (3) that
      there was a causal connection between the protected speech and
      the adverse action.

Norton v. Town of Brookhaven, 47 F. Supp. 3d 152, 156-57 (E.D.N.Y.

2014). Given that Hillary indicates that his prosecution was the adverse

action supporting his claim, (Compl. ¶ 230-32), and the court has already

determined that there are no allegations in the complaint describing the

role that the individual State defendants played in initiating the proceedings

against him, see supra Part IV.E.4, Hillary’s First Amendment retaliatory

prosecution claim is also dismissed as against State defendants. See

Norton, 47 F. Supp. 3d at 156-57.

      9.    “Due Process and Stigma-Plus Defamation” Claims Against
            State Defendants

      In response to State defendants’ facially meritorious argument


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seeking dismissal of Hillary’s defamation claim, (Dkt. No. 39, Attach. 1 at

11), Hillary requests to withdraw this claim, (Dkt. No. 47 at 15).

Accordingly, this claim is considered abandoned against State defendants,

and it is dismissed. See Johnson, 2015 WL 4496363, at *5 & n.6;

N.D.N.Y. L.R. 7.1(b)(3).

F.    Failure to State a Claim

      1.    False Arrest & Malicious Prosecution26 Claims Against Village
            Defendants

      When evaluating false arrest and malicious prosecution claims under

§ 1983, the law that governs is the law of the state where the underlying

events occurred. See Russo v. City of Bridgeport, 479 F.3d 196, 203 (2d

Cir. 2007); McClellan v. Smith, 439 F.3d 137, 145 (2d Cir. 2006). To

prevail on a false arrest claim under New York law, a plaintiff must show

that “(1) the defendant intended to confine him, (2) the plaintiff was

conscious of the confinement, (3) the plaintiff did not consent to the

      26
        Although the distinction between false imprisonment and
malicious prosecution is important, there is no pragmatic difference
between false imprisonment and false arrest. False arrest is simply a
species of false imprisonment involving an arrest warrant, and the
elements of both are the same. See Jenkins v. City of New York, 478
F.3d 76, 88 & n.10 (2d Cir. 2007); Singer v. Fulton Cty. Sheriff, 63 F.3d
110, 118 (2d Cir. 1995); McClellan v. Smith, No. 1:02–CV–1141, 2009 WL
3587431, at *1 n.1 (N.D.N.Y. Oct. 26, 2009).
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confinement[,] and (4) the confinement was not otherwise privileged.”

Jocks v. Tavernier, 316 F.3d 128, 134-35 (2d Cir. 2003) (emphasis added).

In order to state a claim for malicious prosecution, a plaintiff must allege

that: (1) defendants initiated or continued a criminal proceeding; (2) without

probable cause; (3) the proceedings terminated in plaintiff’s favor; and (4)

defendants were motivated by malice. See Boyd v. City of New York, 336

F.3d 72, 76 (2d Cir. 2003) (emphasis added).

      Although both claims focus on a slightly different probable cause

inquiry, “the existence of probable cause is a complete defense to both

claims.” McClellan v. Smith, No. 1:02–CV–1141, 2009 WL 3587431, at *6

(N.D.N.Y. Oct. 26, 2009). “In New York, the fact that [a] Grand Jury

returned an indictment against [a defendant] creates a presumption that his

arrest and indictment were procured with probable cause.” Bernard v.

United States, 25 F.3d 98, 104 (2d Cir. 1994); see Colon v. City of New

York, 60 N.Y.2d 78, 83 (“[T]he trial court may not weigh the evidence upon

which the police acted . . . after the indictment has issued.”). “To rebut this

presumption, the plaintiff must establish that the indictment was produced

by fraud, perjury, the suppression of evidence[,] or other police conduct

undertaken in bad faith.” Bernard, 25 F.3d at 104.

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      Hillary was indicted in May 2014 and again in January 2015.27

(Compl. ¶¶ 4, 68, 108.) As noted, this creates a presumption that there

was probable cause for both Hillary’s arrest and prosecution. See

Bernard, 25 F.3d at 104. Hillary argues that the complaint overcomes this

presumption by pointing to a host of allegations which he characterizes as

demonstrating that Village defendants targeted him, “suppress[ed]

exculpatory evidence,” “made false statements under oath,” and

“participated in the fabrication of DNA evidence.” (Dkt. No. 74 at 11-12

(citing Compl. ¶¶ 48-69, 74, 76, 80-84, 91, 117-18).) However, the

complaint tells a different story.

      The complaint does not allege what, if any, false information was

provided to the grand jury by any of the individual Village defendants or

what, if any, relevant and material information was withheld from the grand

jury by any of the individual Village defendants such that the procurement


       27
         Hillary’s initial indictment was dismissed with leave to re-present
the case to a different grand jury, not based on any misconduct on the
part of Village defendants, but because of “[District Attorney Rain]’s
improper questions, direct and indirect expression of opinion, and use of
numerous exhibits without proper foundation.” (Compl., Attach. 13 at 7.)
Although Hillary does not argue that this negates the presumption of
probable cause, it is dubious that it would, in light of the second
indictment.
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of the indictment was tainted. See Colon, 60 N.Y.2d at 82-83 (finding that

there must be “evidence establishing that the police . . . have not made a

complete and full statement of facts either to the [g]rand [j]ury or to the

District Attorney, that they have misrepresented or falsified evidence, that

they have withheld evidence[,] or otherwise acted in bad faith”). That is,

allegations that Hillary was “immediately targeted” by law enforcement

despite the existence of evidence that pointed to Jones as a potential

suspect, (Compl. ¶¶ 48-56, 76), are insufficient absent allegations that this

information was withheld from the grand jury. Cf. Gisondi v Town of

Harrison, 72 N.Y.2d 280, 285 (1988) (“[T]he police are not obligated to

pursue every lead that may yield evidence beneficial to the accused, even

though they had knowledge of the lead and the capacity to investigate it.”).

Likewise, although Hillary alleges that his lawsuit against the Village

motivated “local law enforcement officials and officers” to encourage Rain

to run for office to replace the District Attorney who did not indict Hillary,

(Compl. ¶¶ 57-69), this again does not establish that the indictment was

procured in bad faith. See Bernard, 25 F.3d at 104.

      Hillary also points to Lieutenant Murray’s testimony, from a

deposition in Hillary I, that he saw Hillary in video surveillance footage.

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Murray later testified that he did not actually see Hillary himself––he merely

inferred it was Hillary because the car depicted on video was the same

color, make, and model as Hillary’s car and located at the same place

Hillary testified that he was parked. (Compl. ¶¶ 80-84 (citing Attach. 6 at

139, 145).) Even if such semantics could be fairly said to constitute

perjury, there is nothing in the complaint from which to infer that this

testimony––from a completely separate civil action––somehow tainted the

grand jury proceedings. See Bernard, 25 F.3d at 104. Lastly, as

described above, there is no view of the allegations from which to infer that

any DNA evidence was fabricated. (See generally Compl.) In fact, the

portion of the complaint Hillary cites to support this contention merely

alleges a lack of DNA evidence connecting Hillary to the crime scene. (Id.

¶¶ 117-18). Hillary’s characterization is further contradicted by the fact that

“[a]lthough the testimony of several grand jury witnesses implie[d] that

there may have been an attempt to assess potential DNA evidence during

the investigative phase of the case, no DNA evidence was presented to the

grand jury.” (Id., Attach. 13 at 1.)

      As such, Hillary fails to rebut the presumption of probable cause

created by the grand jury’s indictment. Accordingly, the portion of Village

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defendants’ motion seeking dismissal of Hillary’s false arrest and malicious

prosecution claims is granted.

      2.    Fabrication of Evidence and Failure to Disclose Exculpatory
            Evidence Claims Against Village Defendants

      Village defendants argue that “[Hillary] has not identified a single

Village [d]efendant whom he claims fabricated evidence and/or had the

ability to disclose [the] same.” (Dkt. No. 70, Attach. 1 at 18.) In response,

Hillary tries to stretch familiar paragraphs of the complaint to save his

claim. (Dkt. No. 74 at 15 (citing Compl. ¶¶ 48-56, 76, 80-84, 91, 117-18).)

As previously discussed, see supra Part IV.E.6; Part IV.F.1, this attempt is

futile. The complaint presents no basis to infer that any evidence was

fabricated, (Compl. ¶¶ 116-51), and the only arguable withholding of

exculpatory evidence is attributable to Fitzpatrick, (id. ¶¶ 152-53).

Accordingly, this portion of Village defendants’ motion is granted.

      3.    Retaliatory Prosecution Claims Against Village Defendants

      Next, Village defendants, citing a single case involving employment

discrimination, assert that the complaint is “devoid of any factual

allegations that could reasonably support a causal connection between

[Hillary]’s ‘protected activity’ and the ongoing criminal investigation.” (Dkt.


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No. 70. Attach. 1 at 19.) However, at this stage, a causal connection

between the filing of Hillary I and Hillary’s subsequent criminal prosecution

can be inferred. See Gorman-Bakos v. Cornell Co-op Extension of

Schenectady Cty., 252 F.3d 545, 554 (2d Cir. 2001) (“In this Circuit, a

plaintiff can indirectly establish a causal connection to support

a . . . retaliation claim by showing that the protected activity was closely

followed in time by the adverse . . . action.”). As such, this portion of

Village defendants’ motion is denied.28

      4.    Defamation Claims Against Village Defendants

      Village defendants also argue that Hillary fails to allege that any

statements made by them “were public, as opposed to . . . made during the

criminal investigation and in furtherance thereof.” (Dkt. No. 70. Attach. 1 at

19.) However, this cursory argument fails to explain why statements made

during a widely-covered murder investigation and subsequent criminal trial

are not considered sufficiently public. Accordingly, this portion of Village




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        Village defendants do not address whether this claim is
extinguished by the existence of probable cause. See Reichle v.
Howards, 566 U.S. 658, 666-69 (2012).
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defendants’ motion is denied.29

      5.    Equal Protection Claims Against Village Defendants

      Village defendants also tersely argue that the complaint fails to state

a claim for a violation of Hillary’s rights under the Equal Protection Clause

of the Fourteenth Amendment. (Dkt. No. 70, Attach. 1 at 16-18.) Without

citing to any legal authority, they assert that “there was presumptive

probable cause to arrest [Hillary], to detain him[,] to indict him[,] and to

prosecute him.” (Id. at 18.) However, the existence of probable cause

does not necessarily obviate the need to examine whether Hillary was

treated worse than he otherwise would have been because of a malicious

or bad faith intent to injure him. See Berger v. Schmitt, No. 02–CV–155E,

2003 WL 21383007, at *4 (W.D.N.Y. Apr. 18, 2003). Given the nature of

Village defendants’ arguments, the court is not convinced that this claim

should be dismissed at this juncture. For now, it is sufficient that the

complaint specifically alleges that Hillary “was a [b]lack individual of

Jamaican de[s]cent,” (Compl. ¶ 223), “immediately targeted as a suspect,”

(id. ¶ 48), and eventually indicted, (id. ¶ 68), as opposed to Jones, who it

       29
        Village defendants do not address who allegedly made the
statements referenced in the complaint or whether they were capable of
binding Village defendants.
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can be reasonably inferred is white, (id. ¶ 223), also dated Phillips’ mother,

and who was nearby the scene of the crime at the time of Phillips’ murder

but was not pursued as a suspect, (id. ¶¶ 49-52). Accordingly, this portion

of Village defendants’ motion is denied.

      6.    Conspiracy Claims Against Village Defendants

      Village defendants also argue that the complaint fails to state a claim

for conspiracy given its conclusory nature. (Dkt. No. 70, Attach. 1 at

16-18.) Indeed, it is well settled in this District that “[a] complaint

containing only conclusory, vague, or general allegations of conspiracy to

deprive a person of constitutional rights cannot withstand a motion to

dismiss.” Serbalik v. Gray, 27 F. Supp. 2d 127, 132 (N.D.N.Y. 1998).

However, in an abundance of caution, given the surviving § 1983 claims

against Village defendants, the court denies this portion of Village

defendants’ arguments with leave to renew.

      7.    State Law Claims Against All Defendants

            a.     Abuse of Process

      First, State and County defendants both argue that Hillary’s abuse of

process claim is barred by the statute of limitations but make no attempt to



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pin down an accrual date.30 (Dkt. No. 39, Attach. 1 at 13; Dkt. No. 58,

Attach. 3 at 25.) As another court in this District aptly noted, pinning down

the accrual date of an abuse of process claim is a “thorny issue.” See

Douglas v. N.Y. State Adirondack Park Agency, No. 8:10–CV–299, 2012

WL 5364344, at *7 (N.D.N.Y. Oct. 30, 2012) (collecting cases regarding

whether the statute of limitations governing an abuse of process claim

accrues upon initiation of the underlying proceeding or the termination of

that proceeding). Because Hillary points to authority that arguably

supports the notion that his abuse of process claim accrued upon his

acquittal on September 28, 2016, (Dkt. No. 47 at 13-15; Dkt. No. 64 at 6-7

(citing cases))––which would make the May 15, 2017 filing of this claim,

(Compl.), timely––this portion of the State and County defendants’ motion

is denied.

      More persuasive is Village and County defendants’ alternative

argument that Hillary’s abuse of process claim should be dismissed for



      30
        State defendants also argue that the court should decline to
exercise jurisdiction over Hillary’s supplemental state law claims. (Dkt.
No. 39, Attach. 1 at 13.) However, in light of the related federal claims
that remain in the case, the court declines to do so. See 28 U.S.C.
§ 1367(a).
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failure to state a claim. (Dkt. No. 58, Attach. 3 at 24-25; Dkt. No. 70,

Attach. 1 at 24.)

      In New York, “[a]buse of process has three essential elements: (1)

regularly issued process, either civil or criminal, (2) an intent to do harm

without excuse or justification, and (3) use of the process in a perverted

manner to obtain a collateral objective.” Curiano v Suozzi, 63 N.Y.2d 113,

116 (1984). “The gist of the action for abuse of process lies in the

improper use of process after it is issued.” Dean v Kochendorfer, 237 N.Y.

384, 390 (1924). “If the process is employed from a bad or ulterior motive,

the gist of the wrong is to be found in the use which the party procuring the

process to issue attempts to put it.” Hauser v Bartow, 273 N.Y. 370, 373

(1937). “If [a person] is content to use the particular machinery of the law

for the immediate purpose for which it was intended, he is not ordinarily

liable, notwithstanding a vicious or vindictive motive.” Id; see Savino v.

City of New York, 331 F.3d 63, 77 (2d Cir. 2003) (“[I]t is not sufficient for a

plaintiff to allege that the defendants were seeking to retaliate against him

by pursuing his arrest and prosecution. Instead, he must claim that they

aimed to achieve a collateral purpose beyond or in addition to his criminal

prosecution.”).

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      Here, the complaint vaguely alleges that “[t]he

[d]efendants . . . issued legal process to place [Hillary] under arrest.”

(Compl. ¶ 273.) However, it does nothing to specify which legal process

was abused. (See generally Compl.) Despite being prompted to do so,

Hillary fails to specify the particular process at issue in his responsive

papers. (Dkt. No. 74 at 20-21.) As noted, this claim cannot arise out of

Hillary’s 2011 arrest or underlying process because Hillary has effectively

abandoned such claims. See supra Part IV.C. Although it can arguably be

inferred that Hillary was arrested again on May 15, 2014, (Compl.

¶¶ 4, 68), the legal process underlying this arrest is unclear. The only legal

process that the complaint specifically mentions is Hillary’s indictment

“within six months of [District Attorney Rain being elected],” (id. ¶ 68), and

a subsequent indictment on January 21, 2015, (id. ¶¶ 107-08). Yet,

nothing in the complaint specifically mentions if he was arrested upon legal

process before the initial indictment, his detention status between

indictments, or if he was arrested upon legal process before the second

indictment. (See generally id.) Given the great deal of uncertainty caused

by Hillary’s vague pleadings, and his inability to clear this up after Village

defendants pointed out the same in their motion papers, Hillary has failed

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to nudge his claim across the line from conceivable to plausible. See

Twombly, 550 U.S. at 570. Additionally, the complaint identifies

defendants’ “collateral purpose” as “making an immediate arrest regardless

of whether reasonable or probable cause existed for the arrest.” (Id.

¶ 276.) In other words, the complaint affirmatively alleges that there was

no ulterior purpose or objective other than arresting Hillary and facilitating

his prosecution. See Savino, 331 F.3d at 78.

      Accordingly, Hillary’s abuse of process claims are dismissed as

against all defendants.31

            b.    Negligent Hiring, Training, Supervision, and Retention32

       31
         Although State defendants did not raise this argument, Hillary had
adequate opportunity to address the argument raised by County and
Village defendants, which is equally applicable to State defendants. See
D’Antonio v. Metro. Transp. Auth., No. 06 Civ. 4283, 2008 WL 582354, at
*7 & n.18 (S.D.N.Y. Mar. 4, 2008) (dismissing claim against defendant
based on an argument that the defendant did not raise when co-
defendants raised that argument and plaintiff “had the opportunity to brief
this issue with respect to [codefendants’] motions”).
       32
         In response to State defendants’ facially meritorious arguments
that his state law claims for false imprisonment and negligent hiring,
training, and retention should be dismissed, (Dkt. No. 39, Attach. 1 at 13),
Hillary withdraws these claims, (Dkt. No. 47 at 15). Thus, these claims
against State defendants are dismissed. See Johnson, 2015 WL
4496363, at *5 & n.6; N.D.N.Y. L.R. 7.1(b)(3). Likewise, in response to
County defendants’ argument that all of Hillary’s state law claims should
be dismissed, (Dkt. No. 58, Attach. 3 at 21-25), and that the District
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      Village defendants argue that this claim must be dismissed because

the complaint alleges that all of their underlying conduct was undertaken

within the scope of their employment, (Compl. ¶ 23), and a claim for

negligent hiring, training, supervision, or retention requires that the

underlying conduct occur outside the scope of employment. (Dkt. No. 70,

Attach. 1 at 22-23.) Indeed, “it is well settled under New York law that [a]

claim for negligent hiring or supervision can only proceed against an

employer for an employee acting outside the scope of [his] employment.”

Robinson v. County of Yates, 821 F. Supp. 2d 564, 569 (W.D.N.Y. 2011),

aff’d sub nom 508 F. App’x 7 (2d Cir. 2013). Hillary fails to specifically

respond to this argument, (Dkt. No. 74 at 20), and Village defendants

easily meet the lowered burden created as a result. See Johnson, 2015

WL 4496363, at *5 & n.6; N.D.N.Y. L.R. 7.1(b)(3). Accordingly, this portion

of Village defendants’ motion is granted.

            c.    False Imprisonment/False Arrest



Attorney’s Office is not a suable entity under state law, (id. at 21-22),
Hillary only argues that his abuse of process claim is viable, (Dkt. No. 64
at 6-8). As such, County defendants’ arguments regarding the remainder
of Hillary’s state law claims are considered unopposed and because they
meet the modest burden of demonstrating facial merit, they are granted.
See Johnson, 2015 WL 4496363, at *5 & n.6; N.D.N.Y. L.R. 7.1(b)(3).
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     Because “[t]he elements of false arrest . . . under § 1983 are

substantially the same as the elements under New York law . . . the

analysis of the state and the federal claims is identical.” Boyd, 336 F.3d at

75. Accordingly, this portion of Village defendants’ motion is granted for

the same reasons addressed above.33 See supra Part IV.F.1.

                                V. Conclusion

     WHEREFORE, for the foregoing reasons, it is hereby

     ORDERED that State defendants’ motion to dismiss (Dkt. No. 39) is

GRANTED; and it is further

     ORDERED that County defendants’ motion to dismiss (Dkt. No. 58)

is GRANTED; and it is further

     ORDERED that Village defendants’ motion to dismiss (Dkt. No. 70) is

GRANTED IN PART AND DENIED IN PART as follows:

     DENIED with respect to Hillary’s § 1983 claims based upon (1) a

     violation of the Equal Protection Clause of the Fourteenth


      33
         Hillary’s claims against the Village of Potsdam Police Department,
an administrative arm of the Village of Potsdam without a separate legal
identity, are redundant and thus dismissed along with the claims against
the Village of Potsdam. See, e.g., Pooler v. Hempstead Police Dep’t, 897
F. Supp. 2d 12, 21 (E.D.N.Y. 2012); Caidor v. M&T Bank, No. 5:05-CV-
297, 2006 WL 839547, at *2 (N.D.N.Y. Mar. 27, 2006).
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      Amendment, (2) retaliatory prosecution in violation of the First

      Amendment, (3) defamation, and (4) conspiracy only as against

      Murray; and

      GRANTED in all other respects; and it is further

      ORDERED that defendants, who have not already done so, shall file

an appropriate responsive pleading within the time allotted by the Rules;

and it is further

      ORDERED that the Clerk shall terminate defendants NYSP,

Levinson, Snell, Peets, Wickenheiser, Pizziketti, Does #1-10, Does #11-20,

Does #21-30, St. Lawrence County, St. Lawrence County District

Attorney’s Office, Wells, and Bates from this action; and it is further

      ORDERED that the parties shall contact Magistrate Judge David E.

Peebles to schedule further proceedings in accordance with this

Memorandum-Decision and Order; and it is further

      ORDERED that the Clerk provide a copy of this Memorandum-

Decision and Order to the parties.

IT IS SO ORDERED.

February 28, 2019
Albany, New York


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